           3:22-cv-03071-CRL-KLM # 38         Filed: 12/09/23    Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF ILLINOIS


Lacie Davis, individually and on behalf             3:22-cv-03071-CRL-KLM
of all others similarly situated,
                              Plaintiff,

                - against -                                 Declaration

Ricola USA, Inc.,
                              Defendant


   Pursuant to 28 U.S.C. § 1746 and subject to the penalty of perjury, I declare:


      1.   I am the attorney for the Plaintiff in this action.

      2.   I have personal knowledge of the facts in this Declaration.

      3.   If called to testify as to these facts, I would do so.

      4.   In preparing the Memorandum of Law in Opposition to Defendant’s

Motion for Summary Judgment, I reviewed the United States Pharmacopoeia.

      5.   This was the source for the statements that the Product’s “established

name” is “menthol lozenges.” Exhibit “A.”

      6.   I also reviewed Nomenclature Guidelines of the USP-NF. Exhibit “B.”

      7.   I reviewed page 21 which provides the nomenclature for lozenges.

      8.   The FDA relies on the USP-NF for nomenclature for drug products,

including the OTC product in this case.
             3:22-cv-03071-CRL-KLM # 38      Filed: 12/09/23   Page 2 of 3




     9.      The USP-NF Nomenclature state that Lozenge Nomenclature requires

the identity of the “[DRUG]” to precede the word lozenges, i.e., “Clotrimazole

Lozenges.”

     10. I obtained these two documents from free sources online.

     I declare under penalty of perjury that the foregoing is true and correct.

Dated: December 9, 2023


                                        /s/ Spencer Sheehan




                                         2
               3:22-cv-03071-CRL-KLM # 38          Filed: 12/09/23    Page 3 of 3




                                     Certificate of Service



I certify that on December 9, 2023, I served and/or transmitted the foregoing by the method below

to the persons or entities indicated, at their last known address of record (blank where not

applicable).




                                  CM/ECF            First-Class       Email            Fax
                                                       Mail
 Defendant’s Counsel                  ☒                 ☐               ☐               ☐
 Plaintiff’s Counsel                  ☐                 ☐               ☐               ☐
 Courtesy Copy to Court               ☒                 ☐               ☐               ☐


                                                         /s/ Spencer Sheehan




                                               3
